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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

                                               )
 ENBRIDGE ENERGY, LIMITED                      )
 PARTNERSHIP, ENBRIDGE ENERGY                  )
 COMPANY, INC., and ENBRIDGE                   )
 ENERGY PARTNERS, L.P,                         )
                                               )
                       Plaintiffs,             )
                                               )
 v.                                            )   Case No.
                                               )
                                               )   Hon.
 GRETCHEN WHITMER, the Governor of             )
 the State of Michigan in her official         )
 capacity, and DANIEL EICHINGER,               )
 Director of the Michigan Department of        )
 Natural Resources in his official capacity,   )
                                               )
                       Defendants.             )
                                               )

            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiffs Enbridge Energy, Limited Partnership; Enbridge Energy Company, Inc.; and

Enbridge Energy Partners, L.P. (collectively “Enbridge”) respectfully file this Complaint for

Declaratory and Injunctive Relief. Defendants are Michigan officials sued in their official

capacities under the rule of Ex Parte Young, 209 U.S. 123, 152-154 (1908).

                                     NATURE OF CASE

       1.     This Complaint challenges on federal constitutional grounds Defendants’ attempts

to shut down an interstate, international pipeline owned and operated by Enbridge. This pipeline,

known as Line 5, has been transporting petroleum products safely from Wisconsin, through

Michigan, and to Ontario, Canada for over 65 years. Those petroleum products serve major

refineries in the U.S. Midwest and in Canada and many thousands of consumers across Michigan

and the region. On November 13, 2020, Defendants Whitmer and Eichinger served what they

characterized as a “Notice” purporting to revoke and terminate an easement that has been valid
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and in effect since 1953, and they directed Enbridge to cease operating the Dual Pipelines, a 4-

mile portion of Line 5 located along that easement in the Straits of Mackinac within 180 days.

This Notice, effectively a Shutdown Order, was based on Defendants’ stated concern that the

continued operation of the Dual Pipelines is not safe, even though the Pipelines have never

released any product into the Straits during the entirety of their existence.

       2.      Defendants’ November 13 Shutdown Order reflects a local policy that, on its face,

interferes with the comprehensive federal regulation of pipeline safety, impermissibly burdens and

discriminates against interstate and foreign commerce, and hinders the United States’ ability to

“speak with one voice” with respect to transboundary shipments by pipeline. If enforced by

judicial ruling, the Shutdown Order        would create     a disturbing precedent whereby other

jurisdictions could take copycat actions and thereby impede interstate and international commerce

in petroleum and other products. Only the Federal Government may determine, taking into

account competing interests within the Nation as a whole, whether safety or other local conditions

warrant the shutdown of Line 5.

       3.      Enbridge seeks a declaratory order that federal law preempts Defendants from

attempting to regulate Line 5’s operation and maintenance on pipeline safety grounds. The federal

Pipeline Safety Act, 49 U.S.C. §§ 60101, et seq., expressly preempts States from regulating the

safety of interstate pipelines. 49 U.S.C. § 60104(c).

       4.      Enbridge also seeks a declaratory order that, by seeking the closure of Line 5,

Defendants have violated the Commerce Clause of the U.S. Constitution, the Foreign Commerce

Clause of the U.S. Constitution, and the Foreign Affairs Powers of the U.S. Constitution.




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         5.    Enbridge also seeks to enjoin Defendants from taking steps to impede or prevent

the operation of Line 5 in interstate and foreign commerce, including enforcement of the

November 13 Shutdown Order.

                                            PARTIES

         6.    Plaintiff Enbridge Energy, Limited Partnership is a Delaware limited partnership

conducting business in Michigan, with its principal place of business located at 5400 Westheimer

Court, Houston, Texas 77056.

         7.    Plaintiff Enbridge Energy Company, Inc., is a Delaware corporation conducting

business in Michigan, with its principal place of business located at 5400 Westheimer Court,

Houston, Texas 77056.

         8.    Plaintiff Enbridge Energy Partners, L.P., is a Delaware limited partnership

conducting business in Michigan, with its principal place of business located at 5400 Westheimer

Court, Houston, Texas 77056.

         9.    Defendant Gretchen Whitmer was elected as Governor of the State of Michigan on

January 1, 2019 and since that time has served as Governor.

         10.   Defendant Daniel Eichinger serves as Director of the Michigan Department of

Natural Resources.

         11.   All named defendants are sued in their official capacities under the rule of Ex Parte

Young.

                                JURISDICTION AND VENUE

         12.   This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and 28

U.S.C. § 2201, because this action arises under the U.S. Constitution and laws of the United States.




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This Court also has jurisdiction over this action pursuant to 28 U.S.C. § 1337, because this action

arises under an act of Congress regulating commerce, specifically, the Pipeline Safety Act.

        13.     Venue is proper in the Western District of Michigan under 28 U.S.C. § 1391(b) in

that, upon information and belief, all Defendants maintain offices and/or reside in Lansing, which

is within the Western District. Further, a substantial part of the events giving rise to Enbridge’s

claims occurred in this district, and the property that is the subject of the action is situated in this

district.

        14.     This Court has personal jurisdiction over the Defendants as each is a citizen of and

resides in the State.

                                   FACTUAL ALLEGATIONS

                               Line 5’s construction and operation

        15.     Enbridge is the owner and operator of Line 5. It transports petroleum products on

Line 5 in accordance with applicable federal requirements imposed under the Interstate Commerce

Act, Pipeline Safety Act and other federal statutes.

        16.     Line 5 is a 645-mile pipeline built in 1953. Beginning in northwestern Wisconsin,

Line 5 stretches into the Upper Peninsula of Michigan, crosses the Straits of Mackinac, and cuts

down through the Lower Peninsula before crossing the U.S.-Canada international boundary, where

the pipeline ends in Sarnia, Ontario. Line 5’s crossing of the international boundary is federally

authorized by a Presidential Permit issued to Enbridge for Line 5. President Dwight D. Eisenhower

issued this Permit on April 28,1953 to authorize the construction, operation and maintenance of

the Pipeline at the border crossing, and thereby facilitate foreign commerce.

        17.     At the point where it crosses the Straits of Mackinac, Line 5 splits into two 20”

pipelines—known as the Dual Pipelines—that run on the lake floor and reunite on the southern




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side of the Straits. The Line 5 Dual Pipelines were specifically designed to surpass all requirements

for long-term safe operation in the submerged waters of the Straits. The Dual Pipelines are

seamless and nearly three times as thick as typical pipelines. They are also operated in a low-

oxygen and therefore non-corrosive environment at the bottom of the Straits and are further

protected from corrosion by coating and by effective cathodic protection, a technique used to

prevent corrosion through an electric current. Unsupported spans that develop as the result of

natural water current action are controlled by the use of anchor supports that stabilize the Lines.

In addition, the Dual Pipelines are operated at a considerably lower pressure than normal for

pipelines of their size and type to ensure the longevity of their safe operation.

       18.     Prior to the construction of Line 5, Enbridge’s predecessor submitted an easement

application to lay the Dual Pipeline in the Straits. On April 23, 1953, the Michigan Conservation

Commission granted the easement pursuant to Act No. 10, PA 1953. The 1953 easement imposed

specific safety standards in the construction, testing, operation, and maintenance of the Dual

Pipelines.

                                   Federal Regulation of Line 5

       19.     Subsequently, Congress enacted the Pipeline Safety Act and vested a federal

agency—now the Pipeline and Hazardous Materials Safety Administration (“PHMSA”)—with

exclusive authority to regulate pipeline safety. This Act expressly provides that a “State authority

may not adopt or continue in force safety standards for interstate pipeline facilities or interstate

pipeline transportation.” 49 U.S.C. § 60104(c).

       20.     PHMSA comprehensively regulates pipeline safety. Line 5 is subject to PHMSA’s

comprehensive safety regulations and requirements.




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        21.    Pursuant to its authority vested by Congress, PHMSA has authority to issue orders

prohibiting operations on a pipeline due to safety concerns, or to impose operational restrictions

to ensure the safe operation of a pipeline.

        22.    In compliance with PHMSA requirements and subject to PHMSA oversight,

Enbridge implements integrity and operational controls designed to ensure the safe operation of

the Line 5 Dual Pipelines. This includes, but is not limited to: hydrotesting the Pipelines with

water injected at pressures higher than maximum normal operating pressures in order to ensure

their integrity and fitness for service; confirming the safety and integrity of the interior of the

Pipelines with in-line inspections that identify any features (e.g., corrosion) that could impair the

safe operation of the pipelines; exterior inspections using divers and remote operated vehicles to

identify any disturbances or damage, such as to the Pipelines’ coating and repairing identified

coating disturbances; maintaining the proper physical support of the pipeline; maintaining a

cathodic protection system that, using an electric current, prevents corrosion to the exterior of the

pipe; and implementing control room procedures to closely monitor the operation of the Pipelines

24-hours per day, 7 days per week and to shut down the Pipelines if any potential safety issue is

identified.

        23.    In addition, to ensure the safe operation of the Line 5 Dual Pipelines in accord with

PHMSA regulations, Enbridge implements measures—collectively referred to as Enbridge’s

Maritime Pipeline Protection Program or “EMP3”—to protect the Pipelines from a vessel anchor

strike. A series of the EMP3 measures, developed in conjunction with maritime experts, are

specifically designed to monitor, observe, and communicate with vessels 24 hours per day, 7 days

per week that may pose an anchor strike risk to the Line 5 Dual Pipelines. Should any anchor




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strike risk be identified that cannot be resolved, Enbridge’s measures require the immediate

shutdown of the Line 5 Dual Pipelines to mitigate the impacts of a potential release.

       24.     Before accounting for any of the extraordinary measures taken by Enbridge to

reduce the risk of an anchor strike, the Attorney General of Michigan acknowledged that based on

a State-commissioned 2017 study of the Dual Pipelines undertaken by Dynamic Risk Assessment

Systems, and cited in the Notice, the risk of failure of the Dual Pipelines from vessel anchor strikes

is an exceedingly low 0.0476% per year.

       25.     A recent assessment by C-FER Technologies (“C-FER”), a not-for-profit

subsidiary of an Alberta agency, Alberta Innovates, concluded in a September 30, 2020 study that

the EMP3 measures implemented by Enbridge reduce the risk of a failure of the Line 5 Dual

Pipelines caused by intentional or unintentional anchor strike by more than 99% relative to the

absence of any measures. Accordingly, the chances of an anchor strike causing a failure of the

Dual Pipelines is vanishingly small, as further evidenced by the over 65 years of their safe

operation.

       26.     PHMSA, in its role as the exclusive regulator of the safety of the Line 5 Dual

Pipelines, has regularly inspected and audited the safety and integrity of the Pipelines’ crossing of

the Straits. For example, in 2015, PHMSA retained an independent expert, LaMontagne Pipeline

Assessment Corporation, to audit the Line 5 Dual Pipelines’ fitness for service and safe operation,

consistent with 49 C.F.R. Part 195. That expert issued a report on May 12, 2016, confirming that

the Line 5 Dual Pipelines are safe to operate based on extensive inspection data. Similarly,

following the discovery of disturbances to the Line 5 Dual Pipelines coating and damage to one of

the Pipelines’ support anchors in 2020 (but not to the Dual Pipelines themselves), PHMSA closely

reviewed data concerning the Line 5 Dual Pipelines, including stress analyses, engineering




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assessments, historical remotely-operated vehicle recordings, diver inspection forms, and in-line

inspection data. As a result of that review, PHMSA confirmed in the last several months that the

Dual Pipelines are fit for service and safe to operate. The State did not question and appropriately

deferred to PHMSA’s determination that the Dual Pipelines were safe to operate.

       27.     The Line 5 Dual Pipelines have never released any product into the Straits.

                  Line 5 serves shippers in interstate and foreign commerce

       28.     On Line 5, Enbridge transports in federally-regulated common carriage up to

540,000 barrels per day of light crude oil, light synthetic crude oil, and natural gas liquids (NGLs)

for shippers in interstate and foreign commerce.

       29.     The products transported by Line 5 originate in several States as well as Canada

and are transported by other lines to a tank terminal in Superior, Wisconsin, which is the origin

point of Line 5. Line 5 also receives product at Lewiston, Michigan, where local Michigan crude

oil is collected and transported to U.S. and Canadian refineries. Line 5 has transported 14,000

barrels per day of Michigan-produced crude, amounting to a total of approximately 80 million

barrels, since it entered service in 1953. Line 5 is responsible for transporting about 70 percent of

the total Michigan crude oil production.

       30.     Line 5 delivers crude oil in the United States, at Marysville, Michigan, and pursuant

to its Presidential Permit, in Canada, at several sites in Sarnia, Ontario. From the Marysville

delivery point, Line 5 supplies the Marathon Detroit refinery and two refineries in Toledo, Ohio.

At Sarnia, Line 5 supplies three refineries with Canadian and US-originated crude oil. In Ontario,

Line 5 is also connected to other Enbridge pipelines that transport crude oil to refineries in western

Pennsylvania; Nanticoke, Ontario; and Quebec. Line 5 supplies a total of 10 refineries in the




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United States and Canada. The crude oil transported by Line 5 constitutes approximately 40

percent of the total crude oil demand for those 10 refineries.

       31.     The NGLs handled by Line 5 are transported to Rapid River, Michigan and Sarnia.

At Rapid River, there is a separation facility (“depropanizer”) that extracts propane from the NGLs,

and returns unneeded butane to Line 5 for further transport. The Rapid River depropanizer is a

key source of propane supply for the Upper Peninsula, supplying approximately 65% of the

propane needs of Michiganders who live and work there. The remainder of NGLs are transported

by Line 5 to Sarnia, where a large fractionation facility is located. That fractionation facility

produces both propane and butanes, and services the Michigan and Eastern Canada propane

markets. The butanes produced by Line 5-transported NGLs are key feedstocks for regional

petrochemical facilities and refineries.

                           Defendants’ Actions to Shut Down Line 5

       32.     On November 13, 2020, Defendants Gretchen Whitmer and Daniel Eichinger

issued the Shutdown Order, which they characterized as a Notice of Revocation and Termination

of Easement. See Exhibit 1.

       33.     That Shutdown Order asserts that “the State is revoking and terminating the 1953

Easement” because of the State’s obligation to protect the Straits and based on Enbridge’s

longstanding, persistent, and incurable violations of the Easement’s conditions and standard of due

care.” Notice at 1.

       34.     Without noting that the Line 5 Dual Pipelines have never released any product in

their over 65 year existence and omitting numerous other critical and relevant facts, the Shutdown

Order asserts that termination and revocation of the 1953 Easement is warranted based on

speculative fears about the safe operation of the Line 5 Dual Pipelines. Specifically, the Shutdown




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Order purports to provide for termination of the 1953 Easement because “transporting millions of

gallons of petroleum products each day through two 67-year old pipelines that lie exposed in the

Straits” creates a “very real risk” of a release and “catastrophic effects if an oil spill occurs at the

Straits.” While providing no evidence to support these allegations, the Shutdown Order purports

to justify termination based on Enbridge’s alleged failure to satisfy a requirement in Paragraph A

of the Easement regarding the “exercise the due care of a reasonably prudent person” or to satisfy

certain more specific safety standards set forth in the 1953 Easement, including: (i) Paragraph

A.4, which provides that the “minimum curvature of any section of pipe shall be no less than two

thousand and fifty (2,050) feet radius”; (ii) Paragraph A.9, which provides that “[a]ll pipe shall be

protected by asphalt primer coat, by inner wrap and outer wrap composed of glass fiber material

and one which by four inch (1” x 4”) slats, prior to installation”; and (iii) Paragraph A.10, which

provides the “maximum span or length of pipe unsupported shall not exceed seventy-five (75)

feet.”

                                              COUNT I

                                Violation of the Supremacy Clause

         35.   Enbridge repeats and realleges each and every allegation in Paragraphs 1 through

34 as through fully set forth herein.

         36.   Article VI, paragraph 2 of the U.S. Constitution provides: “This Constitution, and

the laws of the United States which shall be made in pursuance thereof; and all treaties made, or

which shall be made, under the authority of the United States, shall be the supreme law of the land;

and the judges in every state shall be bound thereby, anything in the Constitution or laws of any

State to the contrary notwithstanding.”

         37.   Congress enacted the federal Pipeline Safety Act “to provide adequate protection

against risks to life and property posed by pipeline transportation and pipeline facilities by


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improving the regulatory and enforcement authority of the Secretary of Transportation.” 49 U.S.C.

§ 60102(a)(1).

       38.       Congress directed the U.S. Secretary of Transportation to prescribe minimum

safety standards for pipeline transportation and for pipeline facilities. 49 U.S.C. § 60102(a)(2).

The safety standards shall be designed to meet the need for “safely transporting hazardous liquids”

and “protecting the environment.” 49 U.S.C. § 60102(b)(1)(B)(ii). This federal regulation of

pipelines includes the safety of all interstate pipelines, including those that are located on

submerged bottomlands.

       39.       Under that authority, the Secretary of Transportation, through its sub-agency

PHMSA, has promulgated an extensive body of federal safety regulations that govern the

construction and operation of pipelines like the one at issue here. See Transportation of Hazardous

Liquids by Pipeline, 49 C.F.R. § 195 et seq. PHMSA’s safety regulations address matters such as

corrosion, cracking and strain on interstate pipelines, among a broad range of other safety matters

addressed in its regulations.

       40.       PHMSA possesses exclusive authority to issue an order providing for the shutdown

of an interstate pipeline based on safety concerns, or to impose operational restrictions to ensure

the safe operation of a pipeline. See Pipeline Safety Act at 49 U.S.C. § 60117(o); 49 C.F.R. §

190.236; 49 C.F.R. § 190.233; 49 C.F.R. § 190.239. In exercising this authority, the statute

recognizes the wide-ranging implications of ordering a pipeline to close and thereby directs

PHMSA to consider the impact of any shutdown order on (1) public health and safety, (2) the

national or regional economy or national security and (3) the ability of pipeline owners and

operators to maintain reliability and continuity of services to customers. The statute further

requires that PHMSA consult with appropriate federal and state agencies and entities




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knowledgeable in pipeline safety or operations before ordering a pipeline to shut down. The statute

assigns no role to a state to force closure of a federally-regulated interstate pipeline such as Line

5.

       41.     Congress included in the Pipeline Safety Act a section entitled “Preemption,” which

provides: “A State authority may not adopt or continue in force safety standards for interstate

pipeline facilities or interstate pipeline transportation.” 49 U.S.C. § 60104(c).

       42.     Through the Shutdown Order, Defendants seek to shut down Line 5’s operations

based on their view that Line 5 does not satisfy safety standards asserted by Michigan, including

those identified in the 1953 Easement and now sought to be enforced against Enbridge through

termination of the Easement. Defendants’ attempt to shut down Line 5 on the basis of the various

safety standards described in the Shutdown Order is preempted by the Pipeline Safety Act and

accompanying regulations, and contrary to the carefully crafted factors that PHMSA is required to

consider and balance before ordering the closure of an interstate pipeline. As a result, Defendants’

actions violate the Supremacy Clause.

       43.     Enbridge seeks a declaration from this Court that federal law, including the Pipeline

Safety Act, preempts Defendants’ efforts to regulate the safety of the operation of the Line 5 Dual

Pipelines—including through standards respecting perceived spill risks from the Pipelines,

standards respecting span management, coating, and curvature, and any other standards articulated

in or related to the purported Shutdown Order—and further preempts Defendants’ attempts to

direct Enbridge to shut down the Dual Pipelines on the basis of these safety concerns or any others.

       44.     Enbridge seeks a further declaration that any enforcement of the 1953 Easement

based on safety concerns—including based on an asserted “reasonably prudent” standard, or the




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span management, coating, and curvature provisions contained in the 1953 Easement—constitutes

a form of state safety standards that are expressly preempted by the Pipeline Safety Act.

       45.     Further, Defendant’s Shutdown Order is not compatible with, and conflicts with,

the comprehensive federal laws, regulations, and orders governing Line 5. Among other federal

laws including the Pipeline Safety Act and the implementing regulations, Enbridge’s operation of

Line 5 is subject to federal regulation as a common carrier under the Interstate Commerce Act

administered through the Federal Energy Regulatory Commission (“FERC”). Enbridge is also

subject to FERC regulation of the rates and terms of service provided to shippers utilizing Line 5

to ensure reasonableness and non-discrimination. Where a conflict exists between federal and

state law, the Supremacy Clause requires that the federal law prevail. Accordingly, Enbridge seeks

a declaration that Defendants’ actions are preempted on the basis of a conflict between federal and

state law.

       46.     Enbridge further seeks to enjoin Defendants from taking any steps to enforce the

Shutdown Order or to otherwise interfere with operations on Line 5 for reasons based on pipeline

safety concerns that fall exclusively within PHMSA’s jurisdiction.

                                           COUNT II

                            Violation of Interstate Commerce Clause

       47.     Enbridge repeats and realleges each and every allegation in Paragraphs 1 through

46 as through fully set forth herein.

       48.     The Commerce Clause of the U.S. Constitution, Article I, § 8, prohibits States from

engaging in discriminatory or protectionist actions against interstate commerce. The Commerce

Clause also prohibits a State from regulating conduct outside its borders or placing an undue

burden on interstate commerce.




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       49.     The promotion and protection of interstate commerce is a central function of the

Federal Government. The federal government has long recognized that the free flow of goods and

materials throughout the nation is essential to the national economy. The federal government has

also recognized the importance of petroleum products to the economy of the United States.

       50.     The strong federal interest in Line 5 is further underscored by PHMSA’s role under

the Pipeline Safety Act as the exclusive regulator of Line 5’s safety, by FERC’s regulation of

Enbridge’s common carrier obligations and Enbridge’s tariffs, and by the Presidential Permit held

by Line 5 authorizing it to be used as a critically important instrumentality of foreign commerce.

       51.     Defendants’ Shutdown Order, on its face, violates the Commerce Clause because

it would block the continued flow of interstate shipments on Line 5.

       52.     Defendants’ Shutdown Order unreasonably burdens and/or discriminates against

interstate commerce, which is impermissible under the Commerce Clause. Defendants’ Shutdown

Order would prevent Line 5 from continuing to provide services relied on by businesses in and

residents of numerous States and Canada. Such a burden on interstate pipeline traffic would be

excessive in relation to any perceived local benefits to Michigan. The purported benefits are

illusory or minimal because the expert federal agency (PHMSA) oversees the safety of Line 5 and

in fact recently conducted an investigation of the Line 5 Dual Pipelines and confirmed that the

Dual Pipelines are fit for service. PHMSA also regulates, to the exclusion of State safety standards,

Line 5’s safety to prevent any release into the Great Lakes and retains the exclusive authority to

close Line 5 upon its consideration and balancing of various factors spelled out in federal law and

following consultation with state authorities and others.

       53.     Any decision about the safety issues relating to the transportation of petroleum

products on an interstate pipeline must be made by the Federal Government. Only the Federal




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Government may determine, taking into account the competing interests within the Nation as a

whole, including specifically the factors set forth in the Pipeline Safety Act, whether the conditions

within the Straits, or other local area, warrant a shutdown.

        54.     Taking Line 5 out of service—temporarily or permanently—would have dire

consequences for the interstate and foreign refineries supplied by Line 5. The affected refineries

include Marathon’s Detroit refinery, refineries in Ohio, all four refineries in Ontario, the United

Warren refinery in western Pennsylvania, and the Suncor Montreal refinery. These refineries

would lose approximately 40 percent or more, of their current crude supply. Some refineries could

be forced to close, others would become less competitive and suffer job losses. By contrast, the

risk of a release into the Straits is so small that it is barely measurable.

        55.     A closure of Line 5 would also significantly decrease the local supply of refined

products in Michigan, Ontario, Quebec, and western Pennsylvania. Refineries served by Line 5

comprise the vast majority of the total refinery output in the Midwest for gasoline, jet fuel, and

diesel. Because Michigan is dependent on receipt of such refined products from other areas, any

closure of Line 5 would require Michigan to receive refined products from as far afield as the Gulf

Coast to compensate for reduced oil runs from refineries that currently serve Michigan, including

the Marathon Detroit refinery. Ontario does not have excess refined pipeline capacity. Therefore,

in the event of a Line 5 shutdown, Ontario could face shortages or would be required to locate

additional refined products from uncertain sources that are not currently accessed by it.

        56.     Line 5’s uninterrupted transport of NGLs is critical for Michigan and Michiganders.

According to the federal Energy Information Agency, in 2018, Michigan had the highest

residential sector hydrocarbon gas liquids (mostly propane) consumption in the nation. Any




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shutdown of Line 5 would severely impact Michigan residents who are reliant on propane to heat

their homes.

       57.     The Rapid River depropanizer, which is fully dependent on Line 5, would be

required to shut down, which would also result in job losses. A Line 5 shutdown would also have

a major adverse impact on the Sarnia fractionator facility, which is the single largest propane

production source in Eastern Canada and exclusively reliant on Line 5 for its NGLs.

       58.     Given that studies—including a State-sponsored study conducted by Dynamic Risk

Assessment Systems, Inc., Alternatives Analysis for the Straits Pipeline (June 27, 2017)—have

confirmed that no realistic alternatives exist to Line 5, any disruption of service on Line 5—

planned or unplanned—would result in an immediate significant regional supply disruption that

would impact the State through increased costs, potential supply shortfalls (and the public safety

concerns that coincide with that), and reduced competitiveness.

       59.     Enbridge thereby seeks declaratory and injunctive relief finding that Defendants’

actions are unconstitutional under the Commerce Clause of the United States.

                                            COUNT III

             Violation of Foreign Commerce Clause and Foreign Affairs Doctrine

       60.     Enbridge repeats and realleges each and every allegation in Paragraphs 1 through

59 as through fully set forth herein.

       61.     The Foreign Commerce Clause of the United States Constitution authorizes

Congress to “regulate Commerce with foreign Nations and among the several States.” U.S.

Constitution, Article I, § 8, cl. 3. The Foreign Commerce Clause prohibits protectionist policies

and restrains the States from excessively interfering with foreign affairs.

       62.     Further, the Constitution, including Article II, Sections 2 and 3, establishes the

Foreign Affairs doctrine, through which the power to regulate foreign affairs is reserved for the


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federal government. Pursuant to this authority, the United States establishes rules governing

international trade with foreign countries in furtherance of national policy objectives.

       63.      The transportation of petroleum products on Line 5 in international commerce,

from the U.S. to Canada, serves the U.S. national interest, as evidenced by the Presidential Permit

issued for Line 5.

       64.      The Federal Government’s exclusive regulation of transboundary pipelines in

foreign commerce and the important foreign policy objectives they serve are reflected in relevant

international agreements to which the United States and Canada are parties. These agreements

are designed to promote the flow of commerce and remove undue barriers to pipelines that

transport hydrocarbons between the nations. See Canada-United States Transit Pipelines Treaty,

Article II(1) (ratified by US Senate on August 3, 1977) (“No public authority … shall institute any

measures … [which] have the effect of, impeding, diverting, redirecting or interfering with in any

way the transmission of hydrocarbon in transit [from one nation to the other through pipelines]”);

USMCA Energy Regulatory Measures and Regulatory Transparency Annex, Article 5(1)(a)

(signed into law on January 29, 2020 following Congressional approval) (“Each party shall …

accord[ ] access to … pipeline networks for the purposes of importation … that is neither unduly

discriminatory nor unduly preferential”).

       65.      Defendants’ Shutdown Order violates the Foreign Commerce Clause and Foreign

Affairs doctrine by seeking to, among other things:

             a. interfere with the United States to “speak with one voice” with respect to

                transboundary shipments by pipeline;




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             b. impermissibly impact conduct beyond the borders of the United States by

                preventing continued shipments of hydrocarbons originating in Canada on Line 5

                from the United States to refineries and other facilities in Canada;

             c. interfere with the United States’ obligations under its international agreements with

                Canada barring undue restrictions on pipeline transportation.

       66.      Defendants’ Shutdown Order has more than an incidental or indirect effect on

foreign relations.

       67.      Enbridge therefore seeks declaratory and injunctive relief holding that Defendants’

actions are invalid under the Foreign Commerce Clause and Foreign Affairs doctrine.

       68.      By entering and ratifying the relevant agreements pertaining to pipeline

transportation, the federal government has expressed its intent to occupy the entire field of

transboundary movement shipments by pipeline and has left no room for the State to supplement

federal law. The Shutdown Order also stands as an obstacle to the accomplishment and execution

of the full objectives of the international agreements. It also creates a conflict between federal and

state law. Due to the agreements, along with other federal laws, the Supremacy Clause bars the

Defendants’ actions.

                                     PRAYER FOR RELIEF

       WHEREFORE, Enbridge prays for judgment in its favor and requests:

   (1) A declaration in favor of Enbridge:

             a. That the federal Pipeline Safety Act, 49 U.S.C. §§ 60101 et seq., preempts

                Defendants from adopting safety standards to regulate the safety Enbridge’s Line 5

                pipeline.




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          b. That any revocation or termination of the 1953 Easement based on safety concerns,

              including perceived spill risk, an asserted “reasonably prudent” due care standard

              or specific provisions of the 1953 Easement, or any other reason relied on in the

              Notice amounts in practice to applying and enforcing Michigan’s own safety

              standards to Line 5 that is expressly preempted by the federal Pipeline Safety Act.

          c. That Defendants cannot stop or otherwise interfere with Line 5’s operations based

              on their perception of safety risks associated with Line 5’s operation.

          d. That Defendants’ actions to seek the closure of Line 5’s operation in interstate

              commerce violates the Commerce Clause of the U.S. Constitution, Article I, § 8.

          e. That Defendants’ actions to seek the closure of Line 5’s operation in foreign

              commerce violates the Foreign Commerce Clause of the U.S. Constitution, Article

              I, § 8, cl. 3, and the Foreign Affairs Doctrine.

   (2) An injunction prohibiting Defendants from taking any steps to impede or prevent the

      interstate and international operation of Line 5, including the revocation or termination of

      the 1953 Easement based on the alleged non-compliance with pipeline safety standards in

      the Easement; and

   (3) Any other relief the Court deems just and appropriate.

Dated this 24th of November, 2020                    Respectfully submitted,

                                                     /s/ Peter H. Ellsworth

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